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                          UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF SOUTH CAROLINA
                              CHARLESTON DIVISION



 GURINDER SINGH BAINS, as Personal Repre-
 sentative of the ESTATE of JASWINDER
 SINGH, deceased, HARPREET SINGH and his
 wife, DILPREET KAUR, and LAKHWINDER                  Civil Action No. 2:24-cv-03970-BHH
 KAUR,
                                                      JURY TRIAL DEMANDED
         Plaintiffs,

 v.

 AMERICAN TACTICAL, INC., TONY
 DICHARIO, JOE CALABRO, SCHMEISSER
 GMBH, and 365 PLUS D.O.O.

         Defendants.


                             SECOND AMENDED COMPLAINT

        Plaintiffs, Gurinder Singh Bains, as Personal Representative of the Estate of Jaswinder

Singh, Harpreet Singh and his wife Dilpreet Kaur, and Lakhwinder Kaur (collectively, the Plain-

tiffs) bring this action for negligence, public nuisance, and unlawful marketing against Defendants

American Tactical, Inc., its president Tony DiChario, its marketing director Joe Calabro,

Schmeisser GmbH, and 365 Plus d.o.o. (collectively, the Defendants), alleging the following:
                                         INTRODUCTION

        1.      “No honest man needs more than 10 rounds,” said famed firearms manufacturer

and designer William B. Ruger, Sr., over 30 years ago.

        2.      Ruger also stated, “I never meant for simple civilians to have my 20- or 30-round

magazines . . . .”

        3.      A magazine is the accessory used to store and feed ammunition in semiautomatic

and automatic guns. Rounds, or cartridges, are ammunition—what contains the bullet that is fired

from a gun. The high-capacity ammunition magazines (HCMs) that Mr. Ruger found unnecessary
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for law-abiding civilians enable many rounds to be fired from semi-automatic or automatic guns

without reloading.

       4.      HCMs are not necessary, or even useful, for lawful self-defense or hunting. They

are, however, very useful for killing large numbers of people quickly, before the user can be

stopped as he reloads.

       5.      While soldiers in a combat zone may need to shoot many people quickly, HCMs in

the civilian context are, as a practical matter, useful only to engage in mass assaults on other civil-

ians or law enforcement—that is, mass shootings.
       6.      This case is about what happens when companies recklessly and unfairly design,

market, sell, and distribute these accessories to the general public—indiscriminately—and without

adherence to reasonable safeguards.

       7.      More specifically, the harm in this case was caused by the Defendants’ unethical,

oppressive and immoral advertising scheme, which encouraged criminal use of the HCMs by fo-

cusing on the HCMs assaultive and offensive uses.

       8.      While some debate the exact number of rounds beyond which an HCM becomes an

unreasonably dangerous and unnecessary firearms accessory that poses an unacceptable risk to

public safety relative to any nominal benefit, an HCM containing 60 rounds manifestly exceeds

the threshold of unreasonableness.

       9.      A 60-round HCM’s meaningful utility is limited to military assaults or their civilian

equivalent—mass shootings.

       10.     A 60-round HCM has no use for law-abiding civilians employing firearms for le-

gitimate purposes such as self-defense, hunting, or sport shooting at inanimate targets.

       11.     Defendants knew that HCMs have been used repeatedly to slaughter and terrorize

Americans in horrific mass shootings since long before April 2021. They knew that mass killers

are attracted to HCMs, because they generate maximum killing power in a very short time.

       12.     Despite awareness of the above risks, Defendants deliberately marketed and sold

HCMs to the general public, including to citizens of South Carolina --and not just any HCM, but

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60-round magazines that have approximately six times the killing capacity of standard magazines.

Defendants sold these HCMs without a single safeguard, screening, or limit. Indeed, these HCM’s

are available for purchase at the click of a button on the internet marketplace—where criminals

flock due to anonymity and lack of reasonable controls.

       13.     A company that imports, manufactures, distributes, or sells highly lethal products

to civilians owes a duty to the public to be particularly careful about whose hands those products

end up in.

       14.     They are further required to refrain from engaging in practices offensive to public
policy or that are immoral, unethical or oppressive, including in relation to their marketing and

advertising campaigns.

       15.     Yet Defendants, when faced with the decision to act responsibly, instead took a

hard turn and specifically targeted these highly lethal products to a civilian consumer base filled

with impulsive young men who feel they need to harm others in order to prove their strength and

who have militaristic delusions of fighting in a war or a video game—young men like the mass

shooter here, who murdered eight innocent people and wounded five others in a mere four minutes

(Shooter).1

       16.     Instead of minimizing the serious risk that their HCMs would be acquired by and

misused by violent criminals, Defendants breached their duty of care and engaged in unfair prac-

tices in the conduct of trade or commerce by significantly increasing the risk that one or more of

their HCMs would be used in a mass shooting.

       17.     Defendants did so through several reckless and unfair practices (described in

greater depth below), including, but not limited to:

               a.      selling HCMs with a 60-round capacity;

               b.      allowing customers to acquire HCMs without providing any legitimate rea-

                       son for needing an HCM for law-abiding activities;

1
 This complaint refers to this individual in generic terms so as to avoid giving notoriety to crimi-
nals.
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                 c.     allowing customers to acquire HCMs without engaging in any face-to-face

                        transactions with any Federal Firearms Licensee (FFL);

                 d.     allowing customers to acquire HCMs without providing their criminal his-

                        tory or completing a mental health screening;

                 e.     affirmatively marketing HCMs in a manner that they knew, and intended,

                        would target these highly lethal products to young men with delusions of

                        fighting in a war, an obsession with video games, and insecurities regarding

                        their masculinity (i.e., the need to harm others in order to prove their
                        strength);

                 f.      designing packaging for their HCMs to civilian consumers that boldly and

                        deceptively touts a military (non-civilian) use of the magazines with the

                        U.S. military’s “M4” automatic rifles, when in fact defendants do not appear

                        to have any U.S. government contracts for the magazines; and

                 f.     employing a marketing scheme for their HCMs that focused on the HCMs’

                        offensive and assaultive capabilities.

         18.     Defendants’ reckless actions directly and foreseeably channeled a 60-round HCM

into the hands of the Shooter or somebody like him.

         19.     Defendants practices enticed the Shooter to purchase the 60

round HCM by displaying marketing, advertising, and packaging that was tar-

geted at the delusions of him and others like him, of fighting in a war and

destroying his enemies.

         20.     The Shooter did exactly what Defendants knew or should have

known one of its customers would do: he combined the HCM with an AR-15

style firearm (the Firearms)2 to perpetrate a mass shooting. This shooting was

in Indianapolis, Indiana on April 15, 2021 (the Attack).


2
    Two AR-15 style rifles were recovered at the scene of the Attack.
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       21.     The Shooter armed himself with multiple HCMs but emptied a 60-round

Schmeisser HCM (the Magazine) early in the Attack. Use of the Magazine enabled the Shooter to

fire all 60 rounds in a matter of seconds.

       22.     Thirteen people were shot during the Attack. Eight died.

       23.     Among the victims were Jaswinder Singh (deceased) and Plaintiffs Harpreet Singh

and Lakhwinder Kaur.

       24.     Jaswinder Singh had been working at FedEx for 10 days and was waiting to pick

up his first paycheck when a high-velocity caliber bullet fired by the Shooter penetrated his lower
left back, traveling through his body and out his front right flank, killing him. Jaswinder Singh is

survived by his wife of over 50 years, his children, and grandchildren.

       25.     Harpreet Singh, a husband and father of three, had been working at the FedEx fa-

cility for 6 months. Harpreet had just finished his shift and was standing in line to pick up his

paycheck when he heard the first shot. The bullet struck him in the head and lodged in his temple.

Blood ran down his face as he jumped over a walled security area to hide; huddled and silent —

he waited for the shooting to end and hoped not to lose consciousness.

       26.     Lakhwinder Kaur had been working at FedEx since June 2020. She had just arrived

for her shift and was sitting in a chair near the line for paycheck pick-up when she heard pops that

sounded like fireworks and saw people running. When Lakhwinder Kaur saw a co-worker slump

over, she attempted to go to him to offer aid when a bullet shot past her lacerating her left arm.

Others yelled at her to lie down, so she briefly took shelter under a chair before she moved with

coworkers into an office to hide. One lady was wailing, unable to compose herself. Others were

banging on the door to be let in. After what seemed like an eternity, law enforcement arrived and

led Lakhwinder Kaur and her coworkers outside the building.

       27.     These brief summaries are not intended to fully capture the Plaintiffs, the damage

they have sustained, or the terror they endured.




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        28.      Upon information and belief, Defendants continue to market and sell the Magazine

and will ship it straight to anyone who can access the internet and pay $49.95 plus tax and shipping,

including to residents who live in South Carolina.

        29.      The lethality of the Attack would not have been possible without the Magazine.

        30.      The Shooter needed the HCM to accomplish his mission to kill and terrorize as

many people as possible.

        31.      The high capacity of the Magazine emboldened the Shooter to commit the Attack,

knowing he had the ability to fire 60 rounds continuously without the need to pause to reload.
        32.      Defendants not only made the Magazine easily and anonymously accessible to the

Shooter, Defendants also targeted a dangerous class of individuals, which included the Shooter,

with their reckless and unfair marketing campaign.

        33.      Upon information and belief, the Shooter would not have selected or utilized the

HCM in the attack but for the Defendants’ unfair, negligent or unlawful design, marketing, or sales

practices, including its misleading and inflammatory packing.

        34.      The continued existence of at least one of the advertisements used by Defendants

at the time of the Attack - which is accessible to residents of South Carolina - and Defendants’

failure to implement any protocols prohibiting such advertising, including in South Carolina, al-

lows the potential for a similar attack to occur in the future, thus, impacting others than the Plain-

tiffs in this case.

        35.      Plaintiffs are entitled to damages for the harm foreseeably flowing from the De-

fendants’ reckless and unfair conduct in the manufacturing and importing, selling, distributing,

and marketing of the Magazine, as well as to injunctive relief to abate the ongoing nuisance created

by Defendants’ continuing conduct with regards to similar 60-round HCMs.

        36.      This lawsuit does not in any way challenge the right of law-abiding citizens to bear

arms for self-defense.

        37.      This lawsuit also does not challenge in any way the right of responsible manufac-

turers, distributors, and sellers of firearms or reasonable firearms accessories to conduct business

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while complying with all aspects of their duty of care to the public and applicable state and federal

laws.

          38.   Instead, it seeks only to hold the Defendants accountable for their negligent, reck-

less, unfair, and unlawful conduct, which foreseeably resulted in the unlawful use of its Magazine

to effect mass killing, and to prevent the continuance of this conduct to avoid harm to others in the

future.

                                              PARTIES


          39.   Plaintiff Gurinder Singh Bains is the Personal Representative of the Estate of

Jaswinder Singh, deceased. Gurinder Singh Bains was at all relevant times a resident of Green-

wood, Johnson County, Indiana. Gurinder Singh Bains is the surviving son of Jaswinder Singh.

Jaswinder Singh was, prior to his death, lawfully admitted for permanent residence in the United

States and domiciled in Greenwood, Johnson County, Indiana.

          40.   Plaintiff Harpreet Singh was at all relevant times a citizen of Indiana, domiciled in

Avon, Hendricks County, Indiana.

          41.   Plaintiff Dilpreet Kaur was at all relevant times the lawful spouse of Harpreet

Singh, a citizen of Indiana, and domiciled in Avon, Hendricks County, Indiana.

          42.   Plaintiff Lakhwinder Kaur was a citizen of Indiana, domiciled in Indianapolis, Mar-

ion County, Indiana at the time of the Attack. Lakhwinder Kaur is currently a citizen of California,

domiciled in Bakersfield, Kern County, California.

          43.   Defendant American Tactical, Inc., (American Tactical) is a corporation with its

headquarters in South Carolina and its principal place of business located at 231 Deming Way,

Summerville, South Carolina 29483.




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       44.     Defendant American Tactical is an importer, manufacturer, and seller of firearms,

ammunition, and accessories, including the ATI Schmeisser AR15 60 Round Magazine that was

used by the Shooter in the Attack.

       45.     Defendant American Tactical is the exclusive United States importer of Schmeisser

magazines.

       46.     Upon information and belief, Defendant American Tactical imported, marketed,

distributed, and sold the Magazine, either directly or through one or more intermediaries, to the

Shooter, and other similar magazines, to members of the general public, including to residents of

South Carolina.

       47.     American Tactical’s actions regarding the Magazine were predominantly taken in

the state of South Carolina.

       48.     Defendant Anthony DiChario (DiChario) is the President of Defendant American

Tactical. As president of American Tactical, upon information and belief, DiChario is aware of or

ultimately approves American Tactical’s marketing. As president, he has the ultimate authority to

influence and direct American Tactical’s marketing strategy and to cease running specific adver-

tisements or other content published by American Tactical on its social media platforms.

       49.     Upon information and belief, Defendant DiChario is a citizen of the State of South

Carolina.

       50.     Defendant Joe Calabro (Calabro) is the Director of Marketing and Purchasing for

American Tactical. Upon information and belief, he oversees and directs American Tactical’s mar-

keting, including on its social media platforms. All marketing, promotional and advertising mate-

rials worked on by Calabro on behalf of ATI are sent to ATI’s executive officials in South Carolina

for review and approval before being published.



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          51.   Upon information and belief, Calabro is a citizen of the State of New York.

          52.   Defendant Schmeisser GmbH (Schmeisser) is a German corporation that manufac-

tures firearm accessories, weapon system components, and firearms, including AR-15 style rifles,

and has a principal place of business in Krefeld, Germany. Schmeisser uses Defendant American

Tactical as its sole importer and distributor for the United States market.

          53.   Defendant 365 Plus d.o.o. (365 Plus), is a Slovenian corporation that designs, man-

ufactures, and distributes firearms accessories. Upon information and belief, Defendant 365 Plus

acted as a global distributor for Schmeisser firearm accessories, including its 60-round rifle mag-

azines.

          54.   Defendant Schmeisser manufactured the Magazine and distributed it into the

United States through Defendants American Tactical and 365 Plus.

                                     JURISDICTION AND VENUE

          55.   This Court has jurisdiction over this matter under 28 U.S.C. § 1332 because the

matter in controversy exceeds $75,000, exclusive of interest and costs, and is between citizens of

different states.

          56.   This Court has personal jurisdiction over Defendant American Tactical because
American Tactical is headquartered in the State of South Carolina with its principal place of busi-

ness located at 231 Deming Way, Summerville, South Carolina 29483.

          57.   This Court has personal jurisdiction over Defendant DiChario as DiChario is, upon

information and belief, a resident of this district.

          58.   This Court has personal jurisdiction over Defendant Calabro as Calabro is em-

ployed as the Director of Marketing and Purchasing for American Tactical and Calabro sends all

marketing, promotional and advertising materials on which he works to ATI’s officials in South

Carolina for review and approval before they are published, and this case arises out of or relates

to those contacts.

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        59.     This Court has personal jurisdiction over Defendant Schmeisser as Defendant

Schmeisser has substantial and purposeful contacts with South Carolina, and the causes of action

arise out of or relate to those contacts.

        60.     This Court has personal jurisdiction over Defendant 365 Plus as Defendant 365

Plus has substantial and purposeful contacts with South Carolina, and the causes of action arise

out of or relate to those contacts.

        61.     Venue is proper in this Court pursuant to 28 U.S.C. § 1391(b) as a substantial part

of the events or omissions giving rise to the claims occurred in South Carolina.
        62.     Thus, venue and jurisdiction are proper in this Court.

                                      GENERAL ALLEGATIONS

        A.      DEFENDANTS’ HCMS ARE UNREASONABLY DANGEROUS FIRE-
                ARMS ACCESSORIES THAT ENABLE UNLAWFUL MASS SHOOTINGS
                LIKE THE ATTACK WHEN SOLD TO CIVILIANS

        63.     Defendants market, import, manufacture, distribute, and sell HCMs like the Maga-

zine as firearms accessories for members of the civilian public, including the residents of South

Carolina, to add as accessories to guns so that they can fire 60 rounds without reloading.

        64.     A 60-round HCM like the Magazine is not a component part of a firearm. Indeed,

a magazine is not a component part of a firearm.
      65.      ATI advertises HCMs, including the Magazine, in the “Accessories” section of its

website.

        66.     A 60-round HCM is not essential to the discharge of a gun.

        67.     Indeed, a gun like the Firearm can and will fire with no magazine attached but a

round in the chamber. In fact, a gun like the Firearm can be, and often is, manually loaded, one

round at a time.

        68.     Some states, such as Illinois, have single-shot hunting seasons that prohibit a person

from using a rifle “in the possession of a person who is also in possession of or in close proximity



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to a magazine that would allow the rifle to be capable of holding more than one round…” See 520

ILCS 5/1.2bb.

       69.      The Illinois statute, in requiring a semi-automatic rifle that is traditionally used with

a magazine to be used without one while hunting, demonstrates that a magazine is not integral to

the functioning of a semi-automatic weapon.

       70.      In Dix v. Beretta USA Corp., C.A. No. 750681-9 (Calif. Super. Ct., Alameda Cty.),

firearms manufacturer Beretta was defending its decision to not include a magazine disconnect

safety, a safety device that would disable a firearm that included a magazine from firing when the
magazine was detached (but the firearm might still have a round in the chamber). Beretta’s expert

explained to the jury that such a safety device would impede the user’s ability to survive if he was

in the wild and broke his magazine, because he would otherwise (without such a safety device) be

able to manually load the gun to use the firearm to survive without the magazine.

       71.      HCM accessories are useful when combined with guns—especially military-style

assault firearms like AR-15-style guns—to inflict a high number of casualties in a short period

without the need to constantly reload the weapon.

       72.      In the civilian market, the only people who need HCMs are mass killers.

       73.      Defendants have long known that mass killers are attracted to buy HCMs, and that

this group uses HCMs to commit horrific, mass slaughters.

       74.      These incidents include, but are not limited to:

                a.      On August 4, 2019, a shooter armed with an AR-15 style rifle and a 100-

                        round magazine attacked a crowd in an entertainment district of Dayton,

                        Ohio, where he killed nine people, while wounding 17 others.

                b.      On July 28, 2019, a shooter armed with an AK-47-style rifle, a 75-round

                        drum magazine and multiple 40-round magazines attacked a festival in Gil-

                        roy, California, where he killed 3 people, while wounding 13 more.




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       c.    On November 7, 2018, a shooter armed with a pistol and multiple 30-round

             magazines attacked a bar and grill in Thousand Oaks, California, where he

             killed 11 people.

       d.    On February 14, 2018, a shooter armed with an AR-15-style rifle and sev-

             eral 30- or 40-round magazines attacked the Marjory Stoneman Douglas

             High School in Parkland, Florida, where he killed 17 people, while wound-

             ing 17 more.

       e.    On November 5, 2017, a shooter armed with an AR-15-style rifle and
             around 15 30-round magazines attacked a church in Sutherland Springs,

             Texas, where he killed 26 people, while wounding 20 more.

       f.    On October 1, 2017, a shooter armed with multiple firearms – including

             several AR-15-style rifles – twelve 100-round magazines and a 40-round

             magazine attacked a music festival in Las Vegas, Nevada, where he killed

             58 people, while wounding hundreds.

       g.    On June 12, 2016, a shooter armed with multiple firearms – including an

             assault-style rifle – and multiple 30-round magazines attacked a nightclub

             in Orlando, Florida, where he killed 49 people, while wounding 53 more.

       h.    On December 2, 2015, two shooters armed with multiple AR-15-style rifles

             and four 30-round magazines attacked a regional center in San Bernadino,

             California, where he killed 14 while injuring 21.

       i.    On June 7, 2013, a shooter armed with multiple firearms – including an AR-

             15-style rifle – and 40 30-round magazines attacked a college in Santa Mon-

             ica, where he killed 5 people.

       j.    On December 14, 2012, a shooter armed with multiple firearms – including

             an AR-15-style rifle – and one or more 30-round magazines attacked an

             elementary school in Newtown, Connecticut, where he killed 27 people (in-

             cluding 20 children).

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               k.      On July 20, 2012, a shooter armed with multiple firearms – including an

                       AR-15-style rifle – and at least one 100-round and one 40-round magazine

                       attacked a movie theater in Aurora, Colorado, where he killed 12 people,

                       while wounding 58 more.

        75.    In addition to these specific, illustrative examples, a publicly available analysis re-

leased by Everytown for Gun Safety on March 22, 2019 surveyed mass shootings from 2009-2017

and found that 58% of mass shootings with known magazine capacity data involved firearms with

HCMs.
        76.    Mass shooters disproportionately use HCMs like the Magazine in part because the

large volume of rounds minimizes the number of times a shooter must pause and reload.

        77.    The scarcity of reloading intervals decreases opportunities for victims to escape or

fight back and makes it harder for law enforcement to intervene to stop the shooter.

        78.    This helps explain why mass shootings involving HCMs, on average, result in over

two times as many deaths and over 14 times as many injuries as mass shootings that do not involve

HCMs.

        79.    Defendants continued to market HCMs in the manner set forth in this Amended

Complaint despite this evidence of their frequent use in mass shootings.

        80.    Upon information and belief, because many mass shooters delusionally seek fame

or glory by maximizing their number of victims, a lack of access to HCMs, which often enable a

high casualty count, would cause many potential mass shooters to delay or cancel planned attacks.

        81.    This would, in turn, provide crucial opportunities for law enforcement or others to

intervene before these individuals commit any violent crimes.

        82.    Because Defendants were aware of the attraction by mass killers, like the Shooter,

to HCMs like the Magazine, Defendants’ practices in targeting their marketing of these products

to individuals like the Shooter are offensive to public policy.

        83.    The public at large has a strong interest in being free from mass shootings and the

fear of mass shootings, including the residents of South Carolina.

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       84.     While HCMs are useful to effectively engage in mass slaughters, they are unneces-

sary for lawful self-defense or hunting, and are, in practice, very rarely used for legal self-defense.

       85.     This reality was recently illustrated by the evidence presented in two separate chal-

lenges to state HCM restrictions preceding the Attack.

       86.     Specifically, in Colorado Outfitters Ass’n, the District Court of Colorado, in reject-

ing a Second Amendment challenge to Colorado’s HCM ban, found that:

               No evidence presented here suggests that the general ability of a
               person to defend him or herself is seriously diminished if magazines
               are limited to 15 rounds. Despite more than 40 years instructing in-
               dividuals and law enforcement in defensive firearm use, the Plain-
               tiffs’ expert witness . . . identified only three anecdotal instances in
               which individuals engaging in defensive use of firearms fired more
               than 15 rounds.

Colorado Outfitters Ass’n v. Hickenlooper, 24 F. Supp. 3d 1050, 1069 (D. Colo. 2014), vacated

and remanded, 823 F.3d 537 (10th Cir. 2016).

       87.     The court further underscored that “of the many law enforcement officials called to

testify, none were able to identify a single instance in which they were involved where a single

civilian fired more than 15 shots in self-defense.” Id. at 1069-1070.

       88.     An expert report in that litigation noted that analyses of two sets of hundreds of

self-defense uses of firearms had both found the average number of shots fired in self-defense to

be just over two. Id., Exp’t Rep. of Jeffrey Zax, Ph.D. at 5-6.

       89.     Similarly, in Duncan v. Becerra, 366 F. Supp. 3d 1131 (S.D. Cal. 2019), an expert

review of 736 incidents of self-defense revealed that a defender had fired over 10 rounds only

twice, and that the average number of shots fired was just over two.

       90.     There have been no incidents of which Plaintiffs are aware in which a 60-round

HCM was needed—or even used—by a law-abiding person for lawful self-defense or protection.




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           91.   In nearly all realistic scenarios, a 60-round HCM is unnecessary for the lawful use

of a firearm in self-defense.

           92.    Gun rights advocate David Kopel, in testimony before the Senate Judiciary Com-

mittee, agreed with this conclusion (as it regards slightly larger magazines) when he testified that

“[h]undred round magazines are novelty items, and are not standard for self-defense by civilians

or police.”

           93.   A 60-round HCM is also not only unnecessary but even counter-productive for

hunting game. And in some states, possessing a magazine during single-shot hunting season is

illegal.

           94.   This is because firing scores of rounds at an animal target will effectively disinte-

grate the animal and make eating or mounting the animal carcass all but impossible.

           95.   Jim Webber, a Michigan gun owner, hunter, and sportsman, made the lack of ap-

plication of HCMs in the hunting context clear in an op-ed where he called HCMs “weapons of

mass destruction” and advised that Michigan’s “magazine limits do not detract from either the

hunting or recreational shooting experience and most likely enhance the sportsmanship and safety

of both.”

           96.   A 60-round HCM like the Magazine, when sold to civilians, has but one meaningful

application in the civilian world: to facilitate unlawful, offensive military-style combat missions

by allowing individuals like the Shooter to kill or maim large numbers of people in a short time.

           97.   Defendants took advantage of this known application by creating or distributing

marketing materials promoting the military and assaultive uses of HCMs.




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          98.    There is overwhelming consensus supported by clear data that a 60-round HCM

like the Magazine is unreasonably dangerous to distribute, market, or sell to the general civilian

public.


          B.     DEFENDANTS ASSUMED A DUTY TO EXERCISE THE HIGHEST DE-
                 GREE OF REASONABLE CARE IN REGARD TO FIREARMS ACCESSO-
                 RIES.
          99.    Defendants, when they chose to enter the business of marketing, manufacturing,

distributing, or selling lethal firearms accessories, voluntarily assumed a duty to take every rea-

sonable step to minimize the likelihood that products like the Magazine would be misused in an

unlawful act of violence like the Attack.

          100.   This duty is multifaceted.

          101.   One key aspect of this duty was an obligation to never place a firearm accessory on

the market whose benefits to lawful firearms owners were non-existent or, at best, negligible in

comparison to the threat and offense the accessory posed to public safety.

          102.   However, because the Defendants decided to sell or distribute HCMs to the public

anyway, they were obligated to implement protocols or safeguards to minimize to the greatest

extent possible the ability of individuals like the Shooter from acquiring inherently dangerous

products like the Magazine.

          103.   Another aspect of that duty is to follow all applicable laws, including not causing a

public nuisance in violation of Indiana Code § 32-306-6.

          104.   The duty also includes a requirement to market, advertise, and package their prod-

ucts responsibly and not unfairly or deceptively in violation of South Carolina’s Unfair Trade

Practices Act (“SCUTPA”). S.C. Code Ann. §§ 39-5-20(a).

          105.   The duty to implement reasonable safeguards—both for their own direct sales from

their website and for downstream retail sellers of Schmeisser, American Tactical, or 365 Plus

products–include, but are not limited to:




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       a.    requiring all transfers of HCMs to be conducted face-to-face in person by

             an FFL;

       b.    conducting criminal history, substance abuse, and mental health back-

             ground checks or screenings on all prospective purchasers of HCMs;

       c.    requiring all prospective purchasers of HCMs to certify that they are not

             disqualified from owning firearms under any provision of state or federal

             law;

       d.    requiring all prospective purchasers of HCMs to certify that they are the
             actual end user of the firearm accessory (rather than buying the firearm ac-

             cessory on behalf of another);

       e.    requiring any prospective customer of an HCM to provide a legitimate, ver-

             ifiable reason for needing an HCM and only transferring HCMs when they

             have reasonable grounds to believe the prospective purchaser actually has a

             legitimate, verifiable intended use for the HCMs;

       f.    continually monitoring information from law enforcement, the media and

             other sources about the misuse of Schmeisser, American Tactical, or 365

             Plus products like the Magazine in acts of gun violence, and adjusting busi-

             ness practices whenever such information indicates that aspects of their ex-

             isting business practices might have enabled a dangerous product to fall into

             the hands of a criminal actor;

       g.    only providing HCMs to retail sellers or downstream distributors who com-

             mit to each of the safeguards described above;

       h.    exercising oversight to verify that all retail sellers and downstream distrib-

             utors of Schmeisser, American Tactical, and 365 Plus products like the

             Magazine are, in fact, complying with safeguards like those listed above

             and terminating business relationships or otherwise disciplining down-

             stream actors who are not in compliance with these safeguards; and

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                 i.     avoiding marketing practices emphasizing the offensive, assaultive, and

                        U.S. military uses of HCMs, that are reasonably likely to appeal to danger-

                        ous classes of people like the Shooter.

          106.   On information and belief, Defendants failed to implement any such safeguards or

screening.

          107.   Additionally, as shown below, Defendants have made the decision to market their

HCMs in whichever ways will result in the most sales, even if its marketing attracts a dangerous

category of individual.

          C.     DEFENDANTS MARKETED AND DESIGNED THE MAGAZINE IN A
                 WAY THAT FORESEEABLY ATTRACTED AND ENABLED DANGER-
                 OUS INDIVIDUALS LIKE THE SHOOTER.

          108.   Defendants breached their duty to use reasonable care in marketing, advertising,

packaging, and promoting their HCMs.

                 a.     DEFENDANTS’ MARKETING ATTRACTED A DANGEROUS CATEGORY OF
                        CONSUMER.

          109.   When Defendants marketed the Magazine, they knew or should have known of the

existence of a category of consumers containing individuals like the Shooter, who would be at-

tracted to such a weapon accessory and could pose a tremendous risk to the safety of others—

namely impulsive young men with insecurities regarding their masculinity (i.e., the need to harm

others in order to prove their strength), militaristic delusions, and suicidal ideations attracted to

using the particularly high lethality of HCMs like the Magazine to effectively execute their fanta-

sies.

          110.   Decades of scientific evidence demonstrate that the onset of intense, thrill-seeking

urges associated with puberty outpaces the development of the area of the brain responsible for

judgment and impulse control, which continues into young adulthood. As a result, adolescents and

post-adolescents have less capacity for mature judgment and self-control than older adults and are

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more likely to engage in risky, destructive, impulsive, and sociopathic behavior. Moreover, emo-

tions such as anger, depression, alienation, and anxiety—which are more strongly felt by adoles-

cents—can dilute the already weak control adolescents and post-adolescents exercise over their

impulses and urges.

        111.   Scientifically based studies have further shown that this susceptibility to and predi-

lection for risky, thrill-seeking behavior extends to violent criminal behavior. Indeed, a dispropor-

tionate amount of violent crime in the United States is committed by individuals between the ages

of 15 and 24, and 18- to 20-year-olds commit gun homicide at a rate nearly four times higher than

adults 21 and older.

        112.   Adolescents and young adults also exhibit increased susceptibility to advertise-

ments, and research indicates that they are particularly receptive to advertisements that depict im-

pulsive, thrill-seeking behavior. For instance, companies promoting products such as tobacco and

alcohol have exploited the vulnerability of young consumers to advertisements that promote thrill-

seeking conduct in order to draw them in early and convert them into lifelong purchasers of their

products.

        113.   Research further suggests that one propensity can feed the other: young people may

be particularly responsive to advertisements portraying impulsive or risky behavior when they are

in a negative emotional state involving, for instance, depression, alienation, or anger. As studies

have shown, such young people are more vulnerable to acting on impulse to seek immediate grat-

ification.

        114.   For individuals with risk factors for violence, particularly emotionally troubled

young men, the physical presence of assault weapons, HCMs, and related imagery make violent

actions more likely. The medical literature describes a “weapons effect,” wherein the physical



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presence of a firearm may incite aggressive cognition and provoke violent behavior. Violence has

infectious qualities: individuals may emulate previous killers or violent acts they have observed, a

concept known as “identification.” Assault weapons advertisements also activate people who are

predisposed to violence but might not engage in it if they did not have access to the weapons or

accessories.

       115.    Despite this troubling information, Defendants target their advertising and market-

ing of HCMs to exactly this vulnerable group: emotionally troubled young men. Defendants do so

even though, as participants in a highly profitable, but uniquely dangerous market, they can rea-

sonably be expected to be fully aware of these facts.

       116.    Defendants marketing and advertising practices constitute unfair practices because

targeting a group of individuals they know to be likely to misuse their products in deadly ways,

i.e., mass shootings, is immoral, unethical, and oppressive.

This conduct affects the public interest because Defendants use of marketing and advertising prac-

tices that emphasize the assaultive and offensive uses of HCMs, create a potential for repetition of

the conduct by other individuals in the targeted, vulnerable group.

               b.      DEFENDANT’S PACKAGING OF ITS HCM IS DECEPTIVE AND INFLAMMA-
                       TORY

       117.    The Shooter received his ATI/Schmeisser HCM in the packaging shown in the

crime scene image below.




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       118.    This packaging to civilian consumers clearly promotes the magazine as “FOR

M4/AR RIFLES,” deceptively touting the magazine’s use in U.S. military automatic rifles. The

U.S. military M4 rifles are not available to civilians. Even if ATI had any contracts with the U.S.

military for its HCMs, such promotion on its packaging to civilians would be reckless.

       119.    Upon information and belief, ATI nor Schmeisser has a U.S. military contract for

their HCMs. Thus, the promotion of such a connection on its packaging to civilians is not just

reckless, but highly deceptive.

       120.    ATI’s inclusion of “FOR M4 … RIFLES” in the packaging of its HCMs serves no

commercial purpose other than to deceive civilian consumers into believing they were buying the

same product as used by the U.S. military in their standard-issue assault rifles.

       121.    This misleading and reckless connection to the HCMs’ use by the U.S. military in

their M4 automatic rifles inspired, emboldened, and empowered the Shooter to commit the Attack.


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                c.      DEFENDANTS’ USE OF VIDEO GAME AND ACTION MOVIE AESTHETIC

       122.     Defendants, instead of acting carefully when marketing and selling their highly le-

thal HCMs to civilians to minimize the likelihood that they did not fall into dangerous hands,

published video advertisements on social media platforms of their HCMs featuring extreme vio-

lence and reckless spraying of bullets.

       123.     The marketing videos were produced by firearms media production company Pole-

nar Tactical.

       124.     Defendant American Tactical posted two marketing videos for the Schmeisser

HCMs to its YouTube page.

       125.     Defendant American Tactical posted one of the video advertisements, titled “Pole-

nar Tactical x Schmeisser Germany x ATI presents the AKS60,” on March 30, 2021—two weeks

before the Attack on April 15. The tag line for the advertisement is: “Schmeisser and ATI, in

partnership with Polenar Tactical, are happy to present the first action footage of the Schmeisser

AK S60 magazine. … Enjoy!” It is an advertisement for the Schmeisser 60-round magazine for

AK-47 assault rifles.




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       126.    It depicts various men dressed in tactical vests like the Shooter wore during the

Attack firing a constant stream of bullets at unseen targets in various offensive, tactical operations,

as depicted in the screenshots below.




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         127.   At the time of the filing of this Amended Complaint, the video has been marked

private. A video can be marked as private by YouTube when the video is determined to violate

their policies or by the uploader of the video, when they want to share the video with only select

users.

         128.   A link to this video still exists on the ATI website, and thus, upon information and

belief, the video was marked private by ATI and is still available to YouTube users with approved

email addresses.

         129.   Upon information and belief, ATI can again make this video accessible to the gen-

eral public at any time.

         130.   Another video advertises the specific model of Magazine bought and used by the

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Shooter in the Attack, the Schmeisser Gen II 60-round magazine. It is titled “Introducing the Gen

II Schmeisser 60rd magazine.” The tag line for the video advertisement is: “American Tactical,

Inc. is the exclusive distributor for the Schmeisser 60 rd magazine. Thank you to the entire team

at Polenar Tactical for producing this great video of the magazine in action!”




       131.    The current American Tactical YouTube URL for this video advertisement dis-

plays: “This video has been removed for violating YouTube’s Community Guidelines.”

youtube.com/watch?v=FBZHVyS_77E, but is still published elsewhere on YouTube.

       132.    That video advertisement, in the style of a trailer for a violent video game or action

movie, is set over an audio track that begins with tense, ominous tones before dropping to inspira-

tional and nationalistic music and a continuous barrage of gunfire beginning with the first click of

the Schmeisser Gen II 60-round magazine into the characters’ assault rifles. Thus, begins imagery

of two men, dressed in the same tactical vests that the Shooter wore during the Attack, engaging

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in an offensive, tactical shooting operation. The video shows a reckless, continual spray of bullets,

some slow-motion action shots, and the characters moving in to attack and shoot unseen targets.

The staccato of gunfire—displaying the ability to use the Schmeisser HCMs for continuous, rapid

gunfire without a need to reload—and the raining of shells toward the end of the video reaches a

crescendo while the shooter sprays bullets into a dark void and turns to the viewer to grin. Various

screenshots of this video depict these sequences.




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       133.   Defendant American Tactical published these video advertisements and established

a marketing presence on social media platforms like YouTube that are disproportionately visited

by adolescent consumers.

       134.   Defendant 365 Plus also published the above video advertisement to its YouTube

page, at youtube.com/watch?v=RGuL0qoVJLo, with the following leaderboard added to the video



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advertisement:




   135.This advertisement is available to members of the general public, including residents of

      South Carolina, and viewable from anywhere, including South Carolina, by anyone with

      access to an internet connection.


                 d.     THE SHOOTER FELL WITHIN THE DANGEROUS CATEGORY OF CONSUMERS
                        AND WAS FORESEEABLY MOTIVATED BY DEFENDANTS’ MARKETING AND
                        DESIGN.

       136.      The Shooter fell within the dangerous category of consumers targeted by Defend-

ants’ extreme and unfair marketing tactics.


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       137.     The Shooter, depicted in the photograph below, was 19 years old.




       138.     The Shooter obsessively played video games and also consumed social media, in-

cluding YouTube.

       139.     The Shooter had been in treatment for severe and readily observable mental health

problems.

       140.     At a press conference after the Attack, local and federal officials said the Attack

was “an act of suicidal murder” in which the Shooter decided to kill himself “in a way he believed

would demonstrate his masculinity and capability while fulfilling a final desire to experience kill-

ing people.”

       141.     A federal agent also said the Shooter aspired to join the military. Authorities added

that he had been eating MREs, or meals ready-to-eat, like those consumed by members of the

armed forces.

       142.     Notably, during the Attack, the Shooter wore a tactical vest nearly identical to the

gear used in Defendants’ video advertisement by individuals engaged in an offensive, tactical,


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combat-like operation.

         143.   Upon information and belief, the Shooter watched Defendants’ video advertise-

ments.

         144.   Upon information and belief, the Shooter was thus foreseeably motivated by De-

fendants’ marketing and design to purchase the Magazine and use it to carry out the Attack.


         D.     DEFENDANTS HAD ACTUAL OR CONSTRUCTIVE KNOWLEDGE,
                SINCE BEFORE 2021, THAT VIOLATING THEIR DUTY OF CARE
                WOULD LIKELY RESULT IN A MASS SHOOTING LIKE THE ATTACK.

         145.   Upon information and belief, all of the Defendants had actual or constructive

knowledge that violations of their duty of care by marketing, manufacturing, distributing, or selling

products like the Magazine without reasonable safeguards and in violation of Indiana public nui-

sance laws and SCUTPA would likely result in one or more of their products being used in one or

more mass shootings like the Attack.

         146.   The basis for this actual or constructive notice includes, but is not limited to, a

lengthy string of widely publicized mass shooting incidents throughout the United States in which

shooters used HCMs to engage in mass slaughter.

         147.   Further, upon information and belief, Defendants are aware that many states have

banned HCMs because of the unreasonable dangers they pose. For the same reason, law enforce-

ment has long called for sales of HCMs to be banned for civilians, and those demands helped lead

to a federal ban on HCM sales from 1994 - 2004.


         E.     DEFENDANTS VIOLATED THEIR DUTY OF CARE IN WAYS THAT DI-
                RECTLY AND FORESEEABLY CHANNELED THE MAGAZINE TO THE
                SHOOTER AND CAUSED PLAINTIFFS’ HARM.
         148.   Despite their actual or constructive knowledge that violation of one or more aspects

of their duties of care and of SCUTPA would create a significant risk that a highly dangerous

product like the Magazine would be used to perpetrate a mass shooting like the Attack, Defendants

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violated one or more aspects of their duty of care and SCUTPA in ways that directly and foresee-

ably led to the Attack.

       149.    First, Defendants unreasonably and unfairly manufactured, distributed, or sold 60-

round HCMs with full awareness that 60-round HCMs have no or negligible utility for lawful uses

of firearms, but pose a tremendous risk to public safety because they are extremely effective and

desirable for use in mass shootings.

       150.    Had Defendants not violated their duty of reasonable care and violated SCUTPA

by placing an unreasonably dangerous product on the market, the Shooter would never have gained

access to the Magazine.

       151.    Second, upon information and belief, none of the Defendants implemented any rea-

sonable safeguards or protocols to screen out potentially dangerous purchasers (such as those de-

scribed in this Complaint).

       152.    Upon information and belief, Defendants know that criminals, including mass kill-

ers, are attracted to the Internet because of its anonymity and lack of regulation.

       153.    Defendants nonetheless sell HCMs online, without any safeguards, screening, or

reasonable conditions.

       154.    Anyone, including residents of South Carolina, regardless of age, criminal history,

or mental health history, can buy an HCM like the Magazine used in the Attack directly off of

Defendant American Tactical’s website. Defendant American Tactical makes no further inquiry

about the buyer or the purpose for buying an HCM before selling it through its website and includes

no screening whatsoever prior to purchase.

       155.    Similarly, Defendant American Tactical sells its HCMs like the Magazine used in

the Attack through other online firearms websites, also without any limitations, screening, or



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further inquiry.

       156.    Had the Defendants complied with their duty of care by implementing some limi-

tations on their own retail sales or by supervising their chains of distribution so as to require the

retail sale of their products to be governed by such reasonable procedures, the Shooter would, upon

information and belief, not have had access to the Magazine because such safeguards would have

blocked him from acquiring the Magazine.

       157.    Specifically, inter alia, had the Defendants required all transfers of HCMs to be

face to face in person, required mental health screenings, or required all purchasers to provide a

legitimate, verifiable, and credible reason for needing an HCM, the Shooter would not have legally

acquired the Magazine.

       158.    Defendants additionally breached their duty of care and violated SCUTPA by ag-

gressively marketing their HCMs in a manner designed to disproportionately appeal to and influ-

ence dangerous people like the Shooter.

       159.    This unfair practice has the potential to be repeated as, upon information and belief,

Defendants have not changed any of their marketing tactics nor implemented any of the safeguards

suggested in this Complaint, leaving open the likelihood that a mass shooting like the Attack will

happen again somewhere else, including in South Carolina which is among the states where the

marketing is accessible.

       160. Finally, had the Defendants similarly complied with applicable state and federal

laws, including, but not limited to Indiana’s prohibitions on the creation of public nuisances by

acting responsibly in controlling their chains of distribution and South Carolina’s Unfair Trade

Practices Act prohibiting unfair or deceptive practices, the Shooter also would not have legally

gained access to the Magazine.



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       161.    It was eminently foreseeable that Defendants’ violations would lead to an incident

like the Attack by arming one or more dangerous individuals like the Shooter with a lethal tool

especially well-suited to misuse in mass shootings.

       162.    This was because of, among other things, a lengthy history of mass shootings in-

volving HCMs – often smaller HCMs than a monstrous 60-round magazine—leading up to 2021.

       163.    This foreseeable harm is precisely what materialized.

       164.    April 15, 2021, shortly after 11:00 p.m., the FedEx facility was filled with people.

It was payday and many employees were picking up their paychecks. It was also shift change time

and employees were, therefore, both arriving and departing the facility. The Shooter entered the

FedEx facility, cloaked in a tactical vest and wielding two AR-style rifles with HCMs attached.

After shooting and killing two employees in the locker room, the Shooter opened fire on a group

of employees who were waiting to pick up their paychecks.

       165.    As a result of the massive capacity of the Magazine and the corresponding lack of

a need to pause and reload, the Shooter was able to discharge 60 rounds in a matter of seconds.

       166.    This uninterrupted torrent of fire enabled by the Magazine did not provide the

Shooter’s victims with any meaningful chance to escape or fight back.

       167.    The Defendants’ unfair, unlawful and reckless conduct in manufacturing, distrib-

uting, marketing, or selling the unreasonably dangerous Magazine directly and foreseeably led to

13 people being shot with bullets expended from the Magazine during the Attack (including 8 who

suffered fatal wounds).

       168.    Plaintiffs are, thus, entitled to civil justice against the Defendants in terms of redress

for the damages directly and proximately flowing from the Defendants’ negligent business prac-

tices in manufacturing, distributing, marketing, or selling the Magazine.



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        169.    Upon information and belief, the Defendants have also not changed their negligent

practices in any manner since the Attack, other than being forced to take down one of its advertis-

ing videos because it violated YouTube Community Guidelines. The other video advertisement

remains on Defendant American Tactical’s website but is marked as private.

        170.    As a result, Plaintiffs are entitled to injunctive relief to abate the ongoing nuisance

created by Defendants’ misconduct with regard to 60-round HCMs.

                                  FIRST CAUSE OF ACTION
                                  (Negligence—All Defendants)

        Gurinder Singh Bains, as Personal Representative of the Estate of Jaswinder Singh (de-

ceased):

        171.    Plaintiff incorporates by reference all preceding paragraphs in this Complaint as if

restated fully here.

        172.    Plaintiff Gurinder Singh Bains brings this claim as Personal Representative of the

Estate of Jaswinder Singh, deceased, pursuant to S.C. Code § 15-51-20.

        173.    All Defendants voluntarily assumed a multifaceted duty of care to only manufac-

ture, distribute, market, and/or sell firearms accessories, including HCMs, in the safest possible

manner so as to minimize the risk of misuse of their products in incidents like the Attack.

        174.    All Defendants violated one or more aspects of this duty by placing an unreasona-

bly dangerous product on the market without sufficient safeguards to prevent its foreseeable un-

lawful use.

        175.    Upon information and belief, had the Defendants complied with their applicable

duty of care, the Shooter would not have had legal access to the Magazine.

        176.    Instead, upon information and belief, Defendants’ negligent conduct channeled the

Magazine into the hands of the Shooter.

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        177.    It was eminently foreseeable to all Defendants, well before the Attack, that provi-

sion of an unreasonably dangerous HCM like the Magazine to the general public without appro-

priate safeguards would likely result in such products being misused in incidents like the Attack.

        178.    This is precisely what occurred in this case.

        179.    Defendants’ negligence is an actual and proximate or legal cause of Jaswinder

Singh’s injuries.

        180.    As a result, Jaswinder Singh experienced physical injury resulting in great pain and

suffering, both physical and mental. The Estate of Jaswinder Singh also sustained funeral ex-

penses, and pursuant to S.C. Code § 15-5-90-100 Gurinder Singh Baines, as Personal Representa-

tive of the Estate of Jaswinder Singh, now seeks to recover these damages in an amount in excess

of $75,000.

        181.    Defendants’ conduct was carried out with reckless, willful, and conscious disregard

for the safety of the public, including Jaswinder Singh.

        182.    Defendants’ conduct including, but not limited to, its failure to implement safe-

guards in the sale and distribution of HCMs and its intentional marketing of HCMs in a fashion

reasonably likely to appeal to dangerous classes of people like the Shooter, warrants an award of

punitive damages.

        183.    Defendants are vicariously liable for punitive damages arising from the outrageous

and unconscionable conduct of its employees, agents, and/or servants, as set forth herein.

        184.    As Personal Representative of Jaswinder Singh’s Estate, Gurinder Singh Bains

seeks punitive damages in an amount appropriate to punish Defendants and to deter similar con-

duct in the future.

        185.    The actions of Defendants have forced Plaintiff to retain counsel to represent him



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in the prosecution of this action, and he is therefore entitled to an award of a reasonable amount as

attorney’s fees and costs of suit.

                                SECOND CAUSE OF ACTION
                               (Wrongful Death—All Defendants)

        Gurinder Singh Bains, as Personal Representative of the Estate of Jaswinder Singh (de-

ceased):

        186.    Plaintiff incorporates by reference paragraphs 1 through 170 in this complaint as if

restated fully herein.

        187.    Plaintiff Gurinder Singh Bains, as the Personal Representative of Jaswinder Singh’s

Estate brings this cause of action pursuant to S.C. Code § 15-51-20 and alleges that Defendants’

negligence is a legal and/or proximate cause of Jaswinder Singh’s death.

        188.    All Defendants voluntarily assumed a multifaceted duty of care to only manufac-

ture, distribute, market, and/or sell firearms accessories, including HCMs, in the safest possible

manner so as to minimize the risk of misuse of their products in incidents like the Attack.

        189.    All Defendants violated one or more aspects of this duty by placing an unreasona-

bly dangerous product on the market without sufficient safeguards to prevent its foreseeable un-

lawful use.

        190.    Upon information and belief, had the Defendants complied with their applicable

duty of care, the Shooter would not have had legal access to the Magazine.

        191.    Instead, upon information and belief, Defendants’ negligent conduct directly chan-

neled the Magazine into the hands of the Shooter.

        192.    It was eminently foreseeable to all Defendants, well before the Attack, that provi-

sion of an unreasonably dangerous HCM like the Magazine to the general public without appro-

priate safeguards would likely result in such products being misused in incidents like the Attack.

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        193.    This is precisely what occurred in this case.

        194.    Thus, Defendants’ negligent and unlawful conduct directly and proximately caused

Plaintiff’s harm.

        195.    Defendants’ negligence and/or wrongful acts was the actual and proximate or legal

cause of Jaswinder Singh’s injuries and death. Plaintiff on behalf of the distributees of the Estate

of Jaswinder Singh has sustained damages consisting of the loss of pecuniary support in an amount

exceeding $75,000. Plaintiff on behalf of Jaswinder Singh’s distributees, and each of them, seek

these damages together with interest pursuant to S.C. Code § 15-51-40.

        196.    Defendants conduct was carried out with reckless, willful, and conscious disregard

for the safety of the public, including Jaswinder Singh.

        197.    Defendants’ conduct including, but not limited to, its failure to implement safe-

guards in the sale and distribution of HCMs and its intentional marketing of HCMs in a fashion

reasonably likely to appeal to dangerous classes of people like the Shooter, warrants an award of

punitive damages.

        198.    Defendants are vicariously liable for punitive damages arising from the outrageous

and unconscionable conduct of its employees, agents, and/or servants, as set forth herein.

        199.    As Personal Representative of Jaswinder Singh’s Estate, Gurinder Singh Bains

seeks punitive damages in an amount appropriate to punish Defendants and to deter similar con-

duct in the future.

        200.    The actions of Defendants have forced Plaintiff to retain counsel to represent him

in the prosecution of this action, and he is therefore entitled to an award of a reasonable amount as

attorney’s fees and costs of suit.




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                           THIRD CAUSE OF ACTION
    (Public Nuisance—Defendants American Tactical, Inc., Anthony DiChario, Joseph
                            Calabro and 365 Plus d.o.o.)

        Gurinder Singh Bains, as Personal Representative of the Estate of Jaswinder Singh (de-

ceased):

        201.    Plaintiff incorporates by reference paragraphs 1 through 170 in this complaint as if

restated fully herein.

        202.    Plaintiff Gurinder Singh Bains brings this claim as Personal Representative of the

Estate of Jaswinder Singh pursuant to S.C. Code § 15-51-20.

        203.    Defendants American Tactical, DiChario, Calabro and 365 Plus were, at all times,

subject to a general duty to refrain from unreasonable, unlawful, and/or unsafe business practices

that create a public nuisance.

        204.    A public nuisance under Indiana law exists for conduct that amounts to a substantial

interference with the exercise of a common right of the public, thereby offending public morals,

interfering with the use by the public of a public place, or endangering or injuring the property,

health, safety, or comfort of a considerable number of persons.

        205.    A public nuisance is actionable by a private person where that person has suffered

special injury beyond that suffered by the community at large.

        206.    Defendants American Tactical, DiChario, Calabro and 365 Plus, by failing to act in

accordance with their applicable duty of care, substantially interfered with the health and safety of

individuals both inside and outside of Indiana which increased both the risk and lethality of mass

shootings like the Attack.

        207.    As a result of the Attack, Jaswinder Singh suffered a particular harm that is unique

from the harm other members of the community at large have experienced as a result of this



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nuisance.

       208.    Plaintiff is entitled to recover damages in a claim sounding in public nuisance.

       209.    As a proximate or legal result of Defendants’ American Tactical, DiChario, Calabro

and 365 Plus nuisance and/or wrongful acts, Jaswinder Singh endured pain, suffering, and/or dis-

figurement. Plaintiff Gurinder Singh Bains as Personal Representative of the Estate of Jaswinder

Singh, seeks damages for Jaswinder Singh’s pain, suffering, and disfigurement pursuant to S.C.

Code § 15-5-90 in an amount in excess of $75,000.

       210.    As a further actual and proximate or legal result of Defendants’ American Tactical,

DiChario, Calabro and 365 Plus nuisance and/or wrongful acts, Jaswinder Singh’s Estate incurred

special damages, to include funeral and cremation expenses. As Personal Representative of

Jaswinder Singh’s Estate, Plaintiff Gurinder Singh Bains seeks these special damages pursuant to

S.C. Code § 15-5-100.

       211.    Defendants’ American Tactical, DiChario, Calabro and 365 Plus conduct was car-

ried out with reckless, willful, and conscious disregard for the safety of the public, including

Jaswinder Singh.

       212.    Defendants’ American Tactical, DiChario, Calabro and 365 Plus conduct including,

but not limited to, their failure to implement safeguards in the sale and distribution of HCMs and

their intentional marketing of HCMs in a fashion reasonably likely to appeal to dangerous classes

of people like the Shooter, warrants an award of punitive damages.

       213.    Defendants’ American Tactical, DiChario, Calabro and 365 Plus are vicariously

liable for punitive damages arising from the outrageous and unconscionable conduct of its em-

ployees, agents, and/or servants, as set forth herein.

       214.    As Personal Representative of Jaswinder Singh’s Estate, Gurinder Singh Bains



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seeks punitive damages in an amount appropriate to punish Defendants American Tactical,

DiChario, Calabro, and 365 Plus and to deter similar conduct in the future.

        215.    The actions of Defendants American Tactical, DiChario, Calabro and 365 Plus have

forced Plaintiff to retain counsel to represent him in the prosecution of this action, and he is there-

fore entitled to an award of a reasonable amount as attorney’s fees and costs of suit.

        216.    Upon information and belief, Defendants American Tactical, DiChario, Calabro

and 365 Plus have not reformed their reckless practices since the Attack.

        217.    As a result, Plaintiff is also entitled to injunctive relief so as to abate an ongoing

public nuisance.

                                  FOURTH CAUSE OF ACTION
                         (Public Nuisance – Defendant Schmeisser GmbH)

        Gurinder Singh Bains, as Personal Representative of the Estate of Jaswinder Singh (de-

ceased):

        218.    Plaintiff incorporates by reference paragraphs 1 through 170 in this complaint as if

restated fully herein.

        219.    Plaintiff Gurinder Singh Bains brings this claim as Personal Representative of the

Estate of Jaswinder Singh pursuant to S.C. Code § 15-51-20.

        220.    Defendant Schmeisser was, at all times, subject to a general duty to refrain from

unreasonable, unlawful, and/or unsafe business practices that create a public nuisance.

        221.    A public nuisance under Indiana law exists for conduct that amounts to a substantial

interference with the exercise of a common right of the public, thereby offending public morals,

interfering with the use by the public of a public place, or endangering or injuring the property,

health, safety, or comfort of a considerable number of persons.

        222.    A public nuisance is actionable by a private person where that person has suffered

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special injury beyond that suffered by the community at large.

         223.   Defendant Schmeisser, by failing to act in accordance with its applicable duty of

care, substantially interfered with the health and safety of individuals both inside and outside of

Indiana which increased both the risk and lethality of mass shootings like the Attack.

         224.   As a result of the Attack, Jaswinder Singh suffered a particular harm that is unique

from the harm other members of the community at large have experienced as a result of this nui-

sance.

         225.   Plaintiff is entitled to recover damages in a claim sounding in public nuisance.

         226.   As a proximate or legal result of Defendant Schmeisser’s nuisance and/or wrongful

acts, Jaswinder Singh endured pain, suffering, and/or disfigurement. Plaintiff Gurinder Singh

Bains as Personal Representative of the Estate of Jaswinder Singh, seeks damages for Jaswinder

Singh’s pain, suffering, and disfigurement pursuant to S.C. Code § 15-5-90 in an amount in excess

of $75,000.

         227.   As a further actual and proximate or legal result of Defendant Schmeisser’s nui-

sance and/or wrongful acts, Jaswinder Singh’s Estate incurred special damages, to include funeral

and cremation expenses. As Personal Representative of Jaswinder Singh’s Estate, Plaintiff Gurin-

der Singh Bains seeks these special damages pursuant to S.C. Code § 15-5-100.

         228.   Defendant Schmeisser’s conduct was carried out with reckless, willful, and con-

scious disregard for the safety of the public, including Jaswinder Singh.

         229.   Defendant Schmeisser’s conduct including, but not limited to, its failure to imple-

ment safeguards in the sale and distribution of HCMs and its intentional marketing of HCMs in a

fashion reasonably likely to appeal to dangerous classes of people like the Shooter, warrants an

award of punitive damages.



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          230.   Defendant Schmeisser is vicariously liable for punitive damages arising from the

outrageous and unconscionable conduct of its employees, agents, and/or servants, as set forth

herein.

          231.   As Personal Representative of Jaswinder Singh’s Estate, Gurinder Singh Bains

seeks punitive damages in an amount appropriate to punish Defendant Schmeisser and to deter

similar conduct in the future.

          232.   Plaintiff does not seek to recover punitive damages against Defendant Schmeisser

under any law which subjects such damages to a split recovery.

          233.   The actions of Defendant Schmeisser have forced Plaintiff to retain counsel to rep-

resent him in the prosecution of this action, and he is therefore entitled to an award of a reasonable

amount as attorney’s fees and costs of suit.

          234.   Upon information and belief, Defendant Schmeisser has not reformed its reckless

practices since the Attack.

          235.   As a result, Plaintiff is also entitled to injunctive relief so as to abate an ongoing

public nuisance.

                              FIFTH CAUSE OF ACTION
  (Wrongful Death in re: Public Nuisance—Defendants American Tactical, Inc., Anthony
                     DiChario, Joseph Calabro, and 365 Plus, d.o.o.)

          Gurinder Singh Bains, as Personal Representative of the Estate of Jaswinder Sing (de-

ceased):

          236.   Plaintiff incorporates by reference paragraphs 1 through 170 in this complaint as if

restated fully herein.

          237.   Plaintiff Gurinder Singh Bains is the Personal Representative of the Estate of

Jaswinder Singh, deceased.



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         238.   Plaintiff Gurinder Singh Bains brings this cause of action pursuant to S.C. Code §

15-51-20.

         239.   Defendants American Tactical, DiChario, Calabro, and 365 Plus were, at all times,

subject to a general duty to refrain from unreasonable, unlawful, and/or unsafe business practices

that create a public nuisance.

         240.   A public nuisance under Indiana law exists for conduct that amounts to a substantial

interference with the exercise of a common right of the public, thereby offending public morals,

interfering with the use by the public of a public place, or endangering or injuring the property,

health, safety, or comfort of a considerable number of persons.

         241.   A public nuisance is actionable by a private person where that person has suffered

special injury beyond that suffered by the community at large.

         242.   Defendants American Tactical, DiChario, Calabro, and 365 Plus, by failing to act

in accordance with their applicable duty of care, substantially interfered with the health and safety

of individuals both inside and outside of Indiana which increased both the risk and lethality of

mass shootings like the Attack.

         243.   As a result of the Attack, Jaswinder Singh suffered a particular harm that is unique

from the harm other members of the community at large have experienced as a result of this nui-

sance.

         244.   Plaintiff is entitled to recover damages in a claim sounding in public nuisance.

         245.   Defendants’ American Tactical, DiChario, Calabro, and 365 Plus negligence and/or

wrongful acts were the actual and proximate or legal cause of Jaswinder Singh’s injuries and death.

Plaintiff, on behalf of the distributees of the Estate of Jaswinder Singh, has sustained damages

consisting of the loss of pecuniary support in an amount exceeding $75,000. Plaintiff on behalf of



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Jaswinder Singh’s distributees, and each of them, seek these damages, together with interest, pur-

suant to S.C. Code § 15-51-40.

       246.    Defendants’ American Tactical, DiChario, Calabro, and 365 Plus conduct was car-

ried out with reckless, willful, and conscious disregard for the safety of the public, including

Jaswinder Singh.

       247.    Defendants’ American Tactical, DiChario, Calabro, and 365 Plus conduct includ-

ing, but not limited to, their failure to implement safeguards in the sale and distribution of HCMs

and their intentional marketing of HCMs in a fashion reasonably likely to appeal to dangerous

classes of people like the Shooter, warrants an award of punitive damages.

       248.    Defendants American Tactical, DiChario, Calabro, and 365 Plus are vicariously

liable for punitive damages arising from the outrageous and unconscionable conduct of its em-

ployees, agents, and/or servants, as set forth herein.

       249.    As Personal Representative of Jaswinder Singh’s Estate, Gurinder Singh Bains

seeks punitive damages in an amount appropriate to punish Defendants American Tactical,

DiChario, Calabro, and 365 Plus and to deter similar conduct in the future.

       250.    The actions of Defendants American Tactical, DiChario, Calabro, and 365 Plus

have forced Plaintiff to retain counsel to represent him in the prosecution of this action, and he is

therefore entitled to an award of a reasonable amount as attorney’s fees and costs of suit.

       251.    Upon information and belief, Defendants American Tactical, DiChario, Calabro,

and 365 Plus have not reformed their reckless practices in since the Attack.

       252.    As a result, Plaintiff is also entitled to injunctive relief so as to abate an ongoing

public nuisance.




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                               SIXTH CAUSE OF ACTION
           (Wrongful Death in re: Public Nuisance—Defendant Schmeisser GmbH)

         Gurinder Singh Bains, as Personal Representative of the Estate of Jaswinder Singh (de-

ceased):

         253.   Plaintiff incorporates by reference paragraphs 1 through 170 as if restated fully

here.

         254.   Plaintiff Gurinder Singh Bains is the Personal Representative of the Estate of

Jaswinder Singh, deceased.

         255.   Plaintiff Gurinder Singh Bains brings this claim as Personal Representative of the

Estate of Jaswinder Singh pursuant to S.C. Code § 15-51-20.

         256.   Defendant Schmeisser was, at all times, subject to a general duty to refrain from

unreasonable, unlawful, and/or unsafe business practices that create a public nuisance.

         257.   A public nuisance under Indiana law exists for conduct that amounts to a substantial

interference with the exercise of a common right of the public, thereby offending public morals,

interfering with the use by the public of a public place, or endangering or injuring the property,

health, safety, or comfort of a considerable number of persons.

         258.   A public nuisance is actionable by a private person where that person has suffered

special injury beyond that suffered by the community at large.

         259.   Defendant Schmeisser, by failing to act in accordance with its applicable duty of

care, substantially interfered with the health and safety of individuals both inside and outside of

Indiana which increased both the risk and lethality of mass shootings like the Attack.

         260.   As a result of the Attack, Jaswinder Singh suffered a particular harm that is unique

from the harm other members of the community at large have experienced as a result of this nui-

sance.

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          261.   Plaintiff is entitled to recover damages in a claim sounding in public nuisance.

          262.   Defendant Schmeisser’s negligence and/or unlawful acts were the actual and prox-

imate cause of Jaswinder Singh’s injuries and death. Plaintiff, on behalf of the distributees of the

Estate of Jaswinder Singh, has sustained damages consisting of the loss of pecuniary support in an

amount exceeding $75,000. Plaintiff on behalf of Jaswinder Singh’s distributees, and each of them,

seek these damages, together with interest, pursuant to S.C. Code § 15-51-40.

          263.   Defendant Schmeisser’s conduct was carried out with reckless, willful, and con-

scious disregard for the safety of the public, including Jaswinder Singh.

          264.   Defendant Schmeisser’s conduct including, but not limited to, its failure to imple-

ment safeguards in the sale and distribution of HCMs and its intentional marketing of HCMs in a

fashion reasonably likely to appeal to dangerous classes of people like the Shooter, warrants an

award of punitive damages.

          265.   Defendant Schmeisser is vicariously liable for punitive damages arising from the

outrageous and unconscionable conduct of its employees, agents, and/or servants, as set forth

herein.

          266.   As Personal Representative of Jaswinder Singh’s Estate, Gurinder Singh Bains

seeks punitive damages in an amount appropriate to punish Defendant Schmeisser and to deter

similar conduct in the future.

          267.   Plaintiff does not seek to recover punitive damages against Defendant Schmeisser

under any law which subjects such damages to a split recovery.

          268.   The actions of Defendant Schmeisser have forced Plaintiff to retain counsel to rep-

resent him in the prosecution of this action, and he is therefore entitled to an award of a reasonable

amount as attorney’s fees and costs of suit.



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        269.   Upon information and belief, Defendant Schmeisser has not reformed its reckless

practices since the Attack.

        270.   As a result, Plaintiff is also entitled to injunctive relief so as to abate an ongoing

public nuisance.

                               SEVENTH CAUSE OF ACTION
                                (Negligence—All Defendants)

        Harpreet Singh and his wife, Dilpreet Kaur:

        271.   Plaintiffs incorporate by reference paragraphs 1 through 170 as if restated fully

here.

        272.   All Defendants voluntarily assumed a multifaceted duty of care to only manufac-

ture, distribute, market, and/or sell firearms accessories, including HCMs, in the safest possible

manner so as to minimize the risk of misuse of their products in incidents like the Attack.

        273.   All Defendants violated one or more aspects of this duty by placing an unreasona-

bly dangerous product on the market without sufficient safeguards to prevent its foreseeable un-

lawful use.

        274.   Upon information and belief, had the Defendants complied with their applicable

duty of care, the Shooter would not have had access to the Magazine.

        275.   Instead, upon information and belief, Defendants’ negligent conduct directly chan-

neled the Magazine into the hands of the Shooter.

        276.   It was eminently foreseeable to all Defendants, well before the Attack, that provi-

sion of an unreasonably dangerous HCM like the Magazine to the general public without appro-

priate safeguards would likely result in such products being misused in incidents like the Attack.

        277.   This is precisely what occurred in this case.

        278.   Defendants’ negligence is an actual and proximate or legal cause of Harpreet

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Singh’s injuries.

          279.   As a result, Harpreet Singh suffered bodily injury and resulting pain and suffering,

disability, disfigurement, loss of capacity for the enjoyment of life, expense of hospitalization,

medical and nursing care and treatment, loss of earnings, and loss of ability to earn money. The

losses suffered are either permanent or continuing and Harpreet Singh will suffer the losses in the

future.

          280.   Harpreet Singh now seeks to recover damages in an amount in excess of $75,000.

          281.   As a result of the aforementioned negligence of Defendants, Dilpreet Kaur was

caused to suffer and will continue to suffer in the future, significant expenses due to her husband’s

disability as well as a loss of consortium and loss of assistance, all to the detriment of her marital

relationship to Plaintiff Harpreet Singh.

          282.   Dilpreet Kaur now seeks to recover damages in an amount in excess of $75,000.

          283.   Defendants’ conduct was carried out with reckless, willful, and conscious disregard

for the safety of the public including Harpreet Singh.

          284.   Defendants’ conduct including, but not limited to, its failure to implement safe-

guards in the sale and distribution of HCMs and its intentional marketing of HCMs in a fashion

reasonably likely to appeal to dangerous classes of people like the Shooter, warrants an award of

punitive damages.

          285.   Defendants are vicariously liable for punitive damages arising from the outrageous

and unconscionable conduct of its employees, agents, and/or servants, as set forth herein.

          286.   Harpreet Singh and Dilpreet Kaur seek punitive damages in an amount appropriate

to punish Defendants and to deter similar conduct in the future.

          287.   The actions of Defendants have forced Plaintiffs to retain counsel to represent them



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in the prosecution of this action, and they are therefore entitled to an award of a reasonable amount

as attorney’s fees and costs of suit.

                           EIGHTH CAUSE OF ACTION
     (Public Nuisance—Defendants American Tactical, Inc., Anthony DiChario, Joseph
                            Calabro, and 365 Plus d.o.o.)

         Harpreet Singh and his wife Dilpreet Kaur:

         288.   Plaintiffs incorporate by reference paragraphs 1 through 170 in this complaint as if

restated fully here.

         289.   Defendants American Tactical, DiChario, Calabro, and 365 Plus were, at all times,

subject to a general duty to refrain from unreasonable, unlawful, and/or unsafe business practices

that create a public nuisance.

         290.   A public nuisance exists under Indiana law for conduct that amounts to a substantial

interference with the exercise of a common right of the public, thereby offending public morals,

interfering with the use by the public of a public place, or endangering or injuring the property,

health, safety, or comfort of a considerable number of persons.

         291.   A public nuisance is actionable by a private person where that person has suffered

special injury beyond that suffered by the community at large.

         292.   Defendants American Tactical, DiChario, Calabro, and 365 Plus, by failing to act

in accordance with their applicable duty of care, substantially interfered with the health and safety

of individuals both inside and outside the State of Indiana which increased both the risk and le-

thality of mass shootings like the Attack.

         293.   As a result of the Attack, Harpreet Singh suffered a particular harm that is unique

from the harm other members of the community at large have experienced as a result of this nui-

sance.



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       294.    Plaintiffs are entitled to recover damages in a claim sounding in public nuisance.

       295.    As proximate or legal result of Defendants' American Tactical, DiChario, Calabro,

and 365 Plus nuisance and/or wrongful acts, Harpreet Singh has endured and will continue to

endure pain, suffering, and/or disfigurement. Plaintiff Harpreet Singh seeks damages in an amount

in excess of $75,000.

       296.    As a result of the aforementioned nuisance and/or wrongful acts of Defendants'

American Tactical, DiChario, Calabro, and 365 Plus, Dilpreet Kaur was caused to suffer and will

continue to suffer in the future, significant expenses due to her husband’s disability as well as a

loss of consortium and loss of assistance, all to the detriment of her marital relationship to Plaintiff

Harpreet Singh.

       297.    Dilpreet Kaur now seeks to recover damages in an amount in excess of $75,000.

       298.    Defendants' American Tactical, DiChario, Calabro, and 365 Plus conduct was car-

ried out with reckless, willful, and conscious disregard for the safety of the public, including Har-

preet Singh.

       299.    Defendants' American Tactical, DiChario, Calabro, and 365 Plus conduct includ-

ing, but not limited to, their failure to implement safeguards in the sale and distribution of HCMs

and their intentional marketing of HCMs in a fashion reasonably likely to appeal to dangerous

classes of people like the Shooter, warrants an award of punitive damages.

       300.    Defendants American Tactical, DiChario, Calabro, and 365 Plus are vicariously

liable for punitive damages arising from the outrageous and unconscionable conduct of its em-

ployees, agents, and/or servants, as set forth herein.

       301.    Harpreet Singh seeks punitive damages in an amount appropriate to punish Defend-

ants American Tactical, DiChario, Calabro, and 365 Plus and to deter similar conduct in the future.



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        302.   The actions of Defendants American Tactical, DiChario, Calabro, and 365 Plus

have forced Plaintiffs to retain counsel to represent them in the prosecution of this action, and they

are therefore entitled to an award of a reasonable amount as attorney’s fees and costs of suit.

        303.   Upon information and belief, Defendants American Tactical, DiChario, Calabro,

and 365 Plus have also not reformed their reckless practices in since the Attack.

        304.   As a result, Plaintiffs are also entitled to injunctive relief so as to abate an ongoing

public nuisance.

                                NINTH CAUSE OF ACTION
                       (Public Nuisance—Defendant Schmeisser GmbH)

        Harpreet Singh and his wife Dilpreet Kaur:

        305.   Plaintiffs incorporate by reference paragraphs 1 through 170 as if restated fully

here.

        306.   Defendant Schmeisser was, at all times, subject to a general duty to refrain from

unreasonable, unlawful, and/or unsafe business practices that create a public nuisance.

        307.   A public nuisance under Indiana law exists for conduct that amounts to a substantial

interference with the exercise of a common right of the public, thereby offending public morals,

interfering with the use by the public of a public place, or endangering or injuring the property,

health, safety, or comfort of a considerable number of persons.

        308.   A public nuisance is actionable by a private person where that person has suffered

special injury beyond that suffered by the community at large.

        309.   Defendant Schmeisser, by failing to act in accordance with its applicable duty of

care, substantially interfered with the health and safety of individuals both inside and outside of

Indiana which increased both the risk and lethality of mass shootings like the Attack.

        310.   As a result of the Attack, Harpreet Singh suffered a particular harm that is unique

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from the harm other members of the community at large have experienced as a result of this nui-

sance.

          311.   Plaintiffs are entitled to recover damages in a claim sounding in public nuisance.

          312.   As a proximate or legal result of Defendant Schmeisser’s nuisance and/or wrongful

acts, Harpreet Singh endured pain, suffering, and/or disfigurement. Plaintiff Harpreet Singh seeks

damages in an amount in excess of $75,000.

          313.   As a result of the aforementioned nuisance and/or wrongful acts of Defendant

Schmeisser, Dilpreet Kaur was caused to suffer and will continue to suffer in the future, significant

expenses due to her husband’s disability as well as loss of consortium and loss of assistance, all

to the detriment of her marital relationship to Plaintiff Harpreet Singh.

          314.   Dilpreet Kaur now seeks to recover damages in an amount in excess of $75,000.

          315.   Defendant Schmeisser’s conduct was carried out with reckless, willful, and con-

scious disregard for the safety of the public, including Harpreet Singh.

          316.   Defendant Schmeisser’s conduct including, but not limited to, its failure to imple-

ment safeguards in the sale and distribution of HCMs and its intentional marketing of HCMs in a

fashion reasonably likely to appeal to dangerous classes of people like the Shooter, warrants an

award of punitive damages.

          317.   Defendant Schmeisser is vicariously liable for punitive damages arising from the

outrageous and unconscionable conduct of its employees, agents, and/or servants, as set forth

herein.

          318.   Harpreet Singh seeks punitive damages in an amount appropriate to punish Defend-

ant Schmeisser and to deter similar conduct in the future.

          319.   Plaintiffs do not seek to recover punitive damages against Defendant Schmeisser



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under any law which subjects such damages to a split recovery.

        320.   The actions of Defendant Schmeisser have forced Plaintiffs to retain counsel to

represent him in the prosecution of this action, and he is therefore entitled to an award of a reason-

able amount as attorney’s fees and costs of suit.

        321.   Upon information and belief, Defendant Schmeisser has not reformed its reckless

practices since the Attack.

        322.   As a result, Plaintiffs are also entitled to injunctive relief so as to abate an ongoing

public nuisance.

                                       TENTH CAUSE OF ACTION
                   (Negligent Infliction of Emotional Distress—All Defendants)

        Harpreet Singh and his wife Dilpreet Kaur:

        323.   Plaintiffs incorporate by reference paragraphs 1 through 170 as if restated fully

here.

        324.   All Defendants voluntarily assumed a multifaceted duty of care to only manufac-

ture, distribute, market, and/or sell firearms accessories, including HCMs, in the safest possible

manner so as to minimize the risk of misuse of their products in incidents like the Attack.

        325.   All Defendants violated one or more aspects of this duty by placing an unreasona-

bly dangerous product on the market without sufficient safeguards to prevent its foreseeable un-

lawful use.

        326.   Upon information and belief, had the Defendants complied with their applicable

duty of care, the Shooter would not have had access to the Magazine.

        327.   Instead, upon information and belief, Defendants’ negligent conduct directly chan-

neled the Magazine into the hands of the Shooter.

        328.   It was eminently foreseeable to all Defendants, well before the Attack, that

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provision of an unreasonably dangerous HCM like the Magazine to the general public without

appropriate safeguards would likely result in such products being misused in incidents like the

Attack.

          329.   This is precisely what occurred in this case.

          330.   Defendants’ negligence is an actual and proximate or legal cause of Harpreet

Singh’s injuries.

          331.   As a result, Harpreet Singh experienced physical injury and mental or emotional

anguish.

          332.   Harpreet Singh now seeks to recover damages in an amount in excess of $75,000.

          333.   As a result of the aforementioned negligence by Defendants, Dilpreet Kaur was

caused to suffer and will continue to suffer in the future, significant expenses due to her husband’s

disability as well as a loss of consortium and loss of assistance, all to the detriment of her marital

relationship to Plaintiff Harpreet Singh.

          334.   Dilpreet Kaur now seeks to recover damages in an amount in excess of $75,000.

          335.   Defendants’ conduct was carried out with reckless, willful, and conscious disregard

for the safety of the public, including Harpreet Singh.

          336.   Defendants’ conduct including, but not limited to, its failure to implement safe-

guards in the sale and distribution of HCMs and its intentional marketing of HCMs in a fashion

reasonably likely to appeal to dangerous classes of people like the Shooter, warrants an award of

punitive damages.

          337.   Defendants are vicariously liable for punitive damages arising from the outrageous

and unconscionable conduct of its employees, agents, and/or servants, as set forth herein.

          338.   Harpreet Singh and Dilpreet Kaur seek punitive damages in an amount appropriate



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to punish Defendants and to deter similar conduct in the future.

        339.    The actions of Defendants have forced Plaintiffs to retain counsel to represent them

in the prosecution of this action, and they are therefore entitled to an award of a reasonable amount

as attorney’s fees and costs of suit.

                               ELEVENTH CAUSE OF ACTION
                                 (Negligence—All Defendants)
        Lakhwinder Kaur:

        340.    Plaintiff incorporates by reference paragraphs 1 through 170 in this Complaint as

if restated fully here.

        341.    All Defendants voluntarily assumed a multifaceted duty of care to only manufac-

ture, distribute, market, and/or sell firearms accessories, including HCMs, in the safest possible

manner so as to minimize the risk of misuse of their products in incidents like the Attack.

        342.    All Defendants violated one or more aspects of this duty by placing an unreasona-

bly dangerous product on the market without sufficient safeguards to prevent its foreseeable un-

lawful use.

        343.    Upon information and belief, had the Defendants complied with their applicable

duty of care, the Shooter would not have had legal access to the Magazine.

        344.    Instead, upon information and belief, Defendants’ negligent conduct directly chan-

neled the Magazine into the hands of the Shooter.

        345.    It was eminently foreseeable to all Defendants, well before the Attack, that provi-

sion of an unreasonably dangerous HCM like the Magazine to the general public without appro-

priate safeguards would likely result in such products being misused in incidents like the Attack.

        346.    This is precisely what occurred in this case.

        347.    Defendants’ negligence is an actual and proximate or legal cause of Lakhwinder



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Kaur’s injuries.

        348.   As a result, Lakhwinder Kaur suffered bodily injury and resulting pain and suffer-

ing, disability, disfigurement, loss of capacity for the enjoyment of life, expense of hospitalization,

medical and nursing care and treatment, loss of earnings, and loss of ability to earn money. The

losses suffered are either permanent or continuing and Lakhwinder Kaur will suffer the losses in

the future.

        349.   Lakhwinder Kaur now seeks to recover damages in an amount in excess of $75,000.

        350.   Defendants’ conduct was carried out with reckless, willful, and conscious disregard

for the safety of the public, including Lakhwinder Kaur.

        351.   Defendants’ conduct including, but not limited to, its failure to implement safe-

guards in the sale and distribution of HCMs and its intentional marketing of HCMs in a fashion

reasonably likely to appeal to dangerous classes of people like the Shooter, warrants an award of

punitive damages.

        352.   Defendants are vicariously liable for punitive damages arising from the outrageous

and unconscionable conduct of its employees, agents, and/or servants, as set forth herein.

        353.   Lakhwinder Kaur seeks punitive damages in an amount appropriate to punish De-

fendants and to deter similar conduct in the future.

        354.   The actions of Defendants have forced Plaintiff to retain counsel to represent her in

the prosecution of this action, and Plaintiff is therefore entitled to an award of a reasonable amount

as attorney’s fees and costs of suit.




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                               TWELFTH CAUSE OF ACTION
         (Public Nuisance—Defendants American Tactical, Inc., Anthony DiChario, Joseph
                              Calabro, and 365 Plus d.o.o.)

         Lakhwinder Kaur:

         355.   Plaintiff incorporates by reference paragraphs 1 through 170 in this complaint as if

restated fully here.

         356.   Defendants American Tactical, DiChario, Calabro, and 365 Plus were, at all times,

subject to a general duty to refrain from unreasonable, unlawful, and/or unsafe business practices

that create a public nuisance.

         357.   A public nuisance exists under Indiana law for conduct that amounts to a substantial

interference with the exercise of a common right of the public, thereby offending public morals,

interfering with the use by the public of a public place, or endangering or injuring the property,

health, safety, or comfort of a considerable number of persons.

         358.   A public nuisance is actionable by a private person where that person has suffered

special injury beyond that suffered by the community at large.

         359.   Defendants American Tactical, DiChario, Calabro, and 365 Plus by failing to act in

accordance with their applicable duty of care, substantially interfered with the health and safety of

individuals both inside and outside the State of Indiana which increased both the risk and lethality

of mass shootings like the Attack.

         360.   As a result of the Attack, Lakhwinder Kaur suffered a particular harm that is unique

from the harm other members of the community at large have experienced as a result of this nui-

sance.

         361.   Plaintiff is entitled to recover damages in a claim sounding in public nuisance.

         362.   As proximate or legal result of Defendants' American Tactical, DiChario, Calabro,



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and 365 Plus nuisance and/or wrongful acts, Lakhwinder Kaur has endured and will continue to

endure pain, suffering, and/or disfigurement. Plaintiff Lakhwinder Kaur seeks damages in an

amount in excess of $75,000.

          363.   Defendants' American Tactical, DiChario, Calabro, and 365 Plus conduct was car-

ried out with reckless, willful, and conscious disregard for the safety of the public, including

Lakhwinder Kaur.

          364.   Defendants' American Tactical, DiChario, Calabro, and 365 Plus conduct includ-

ing, but not limited to, their failure to implement safeguards in the sale and distribution of HCMs

and their intentional marketing of HCMs in a fashion reasonably likely to appeal to dangerous

classes of people like the Shooter, warrants an award of punitive damages.

          365.   Defendants' American Tactical, DiChario, Calabro, and 365 Plus are vicariously

liable for punitive damages arising from the outrageous and unconscionable conduct of its em-

ployees, agents, and/or servants, as set forth herein.

          366.   Lakhwinder Kaur seeks punitive damages in an amount appropriate to punish De-

fendants American Tactical, DiChario, Calabro, and 365 Plus and to deter similar conduct in the

future.

          367.   The actions of Defendants American Tactical, DiChario, Calabro, and 365 Plus

have forced Plaintiff to retain counsel to represent her in the prosecution of this action, and Plaintiff

is therefore entitled to an award of a reasonable amount as attorney’s fees and costs of suit.

          368.   Upon information and belief, Defendants American Tactical, DiChario, Calabro,

and 365 Plus have also not reformed their reckless practices since the Attack.

          369.   As a result, Plaintiff is also entitled to injunctive relief so as to abate an ongoing

public nuisance.



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                                 THIRTEENTH CAUSE OF ACTION
                            (Public Nuisance – Defendant Schmeisser GmbH)

         Lakhwinder Kaur:

         370.   Plaintiff incorporates by reference paragraphs 1 through 170 in this complaint as if

restated fully here.

         371.   Defendant Schmeisser was, at all times, subject to a general duty to refrain from

unreasonable, unlawful, and/or unsafe business practices that create a public nuisance.

         372.   A public nuisance exists under Indiana law for conduct that amounts to a substantial

interference with the exercise of a common right of the public, thereby offending public morals,

interfering with the use by the public of a public place, or endangering or injuring the property,

health, safety, or comfort of a considerable number of persons.

         373.   A public nuisance is actionable by a private person where that person has suffered

special injury beyond that suffered by the community at large.

         374.   Defendant Schmeisser, by failing to act in accordance with its applicable duty of

care, substantially interfered with the health and safety of individuals both inside and outside the

State of Indiana which increased both the risk and lethality of mass shootings like the Attack.

         375.   As a result of the Attack, Lakhwinder Kaur suffered a particular harm that is unique

from the harm other members of the community at large have experienced as a result of this nui-

sance.

         376.   Plaintiff is entitled to recover damages in a claim sounding in public nuisance.

         377.   As proximate or legal result of Defendant Schmeisser’s nuisance and/or wrongful

acts, Lakhwinder Kaur has endured and will continue to endure pain, suffering, and/or disfigure-

ment. Plaintiff Lakhwinder Kaur seeks damages in an amount in excess of $75,000.

         378.   Defendant Schmeisser’s conduct was carried out with reckless, willful, and

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conscious disregard for the safety of the public, including Lakhwinder Kaur.

          379.   Defendant Schmeisser’s conduct including, but not limited to, its failure to imple-

ment safeguards in the sale and distribution of HCMs and its intentional marketing of HCMs in a

fashion reasonably likely to appeal to dangerous classes of people like the Shooter, warrants an

award of punitive damages.

          380.   Defendant Schmeisser is vicariously liable for punitive damages arising from the

outrageous and unconscionable conduct of its employees, agents, and/or servants, as set forth

herein.

          381.   Lakhwinder Kaur seeks punitive damages in an amount appropriate to punish De-

fendant Schmeisser and to deter similar conduct in the future.

          382.   Plaintiff does not seek to recover punitive damages against Defendant Schmeisser

under any law which subjects such damages to split recovery.

          383.   The actions of Defendant Schmeisser have forced Plaintiff to retain counsel to rep-

resent her in the prosecution of this action, and Plaintiff is therefore entitled to an award of a

reasonable amount as attorney’s fees and costs of suit.

          384.   Upon information and belief, Defendant Schmeisser has also not reformed their

reckless practices since the Attack.

          385.   As a result, Plaintiff is also entitled to injunctive relief so as to abate an ongoing

public nuisance.

                                 FOURTEENTH CAUSE OF ACTION
                      (Negligent Infliction of Emotional Distress—All Defendants)

          Lakhwinder Kaur:

          386.   Plaintiff incorporates by reference paragraphs 1 through 170 in this Complaint as

if restated fully here.

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       387.    All Defendants voluntarily assumed a multifaceted duty of care to only manufac-

ture, distribute, market, and/or sell firearms accessories, including HCMs, in the safest possible

manner so as to minimize the risk of misuse of their products in incidents like the Attack.

       388.    All Defendants violated one or more aspects of this duty by placing an unreasona-

bly dangerous product on the market without sufficient safeguards to prevent its foreseeable un-

lawful use.

       389.    Upon information and belief, had the Defendants complied with their applicable

duty of care, the Shooter would not have had access to the Magazine.

       390.    Instead, upon information and belief, Defendants’ negligent conduct directly chan-

neled the Magazine into the hands of the Shooter.

       391.    It was eminently foreseeable to all Defendants, well before the Attack, that provi-

sion of an unreasonably dangerous HCM like the Magazine to the general public without appro-

priate safeguards would likely result in such products being misused in incidents like the Attack.

       392.    This is precisely what occurred in this case.

       393.    Defendants’ negligence is an actual and proximate or legal cause of Lakhwinder

Kaur’s injuries.

       394.    As a result, Lakwinder Kaur experienced and continues to experience physical in-

jury, and mental and emotional anguish.

       395.    Lakhwinder Kaur now seeks to recover damages in an amount in excess of $75,000.

       396.    Defendants’ conduct was carried out with reckless, willful, and conscious disregard

for the safety of the public, including Lakhwinder Kaur.

       397.    Defendants’ conduct including, but not limited to, its failure to implement safe-

guards in the sale and distribution of HCMs and its intentional marketing of HCMs in a fashion



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reasonably likely to appeal to dangerous classes of people like the Shooter, warrants an award of

punitive damages.

       398.    Defendants are vicariously liable for punitive damages arising from the outrageous

and unconscionable conduct of its employees, agents, and/or servants, as set forth herein.

       399.    Lakhwinder Kaur seeks punitive damages in an amount appropriate to punish De-

fendants and to deter similar conduct in the future.

       400.    The actions of Defendants have forced Plaintiff to retain counsel to represent Plain-

tiff in the prosecution of this action, and Plaintiff is therefore entitled to an award of a reasonable

amount as attorney’s fees and costs of suit.

                                   FIFTEENTH CAUSE OF ACTION
                                  (Punitive Damages—All Defendants)

       Gurinder Singh Bains, as Personal Representative of the Estate of Jaswinder Singh, Har-

preet Singh and his wife Dilpreet Kaur, and Lakhwinder Kaur (collectively, Plaintiffs):

       402.    Hereby incorporate by reference as if fully set forth herein each and every allegation

of the paragraphs above into this cause of action.

       403.    At all times material hereto, Defendants knew or should have known that its HCM

was an unreasonably dangerous product with foreseeable risk of unlawful use.

       404.    At all times material hereto, Defendants marketed and/or sold firearms accessories,

including HCMs, in a manner that targeted a dangerous class of individuals with increased pro-

pensity for misuse of the HCM.

       405.    Defendants had actual or constructive knowledge that marketing, manufacturing,

distributing, or selling products like the Magazine without reasonable safeguards and in violation

of Indiana public nuisance laws and SCUTPA would likely result in one or more of their products

being used in one or more mass shootings like the Attack.

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       406.    Notwithstanding the foregoing, Defendants continued to aggressively market the

subject product to a class of consumers with an increased propensity for misuse—such as the in-

fliction of mass civilian casualty.

       407.    Defendants knew of the risk that its firearms accessories posed to the general pub-

lic, but it intentionally and/or recklessly continued to target its marketing, distribution, and sales

of HCMs to a dangerous class of consumers to maximize sales and profits at the expense of the

health and safety of the public, including Plaintiffs herein, in conscious and/or negligent disregard

of the foreseeable harm caused by its HCM.

       408.    As a direct and proximate result of Defendants’ willful, wanton, careless, reckless,

conscious, and deliberate disregard for the safety of Plaintiffs and the public at large, Plaintiffs

suffered severe and permanent physical and emotional injuries. Plaintiffs have endured pain and

suffering, emotional distress, loss of enjoyment of life, and economic loss, including expenses for

medical care and treatment which will continue in the future, as well as lost wages and loss of

earning capacity.

       409.    Defendants’ aforesaid conduct was committed with knowing, conscious, careless,

reckless, willful, wanton, and deliberate disregard for the rights and safety of the public, including

Plaintiffs, thereby entitling Plaintiffs to punitive damages in an amount appropriate to punish De-

fendants and deter them from similar conduct in the future.

                                      PRAYER FOR RELIEF

       WHEREFORE, Plaintiffs, expressly reserve their right to amend this Complaint before or

at the time of trial to insert those items of damage not yet fully ascertainable, demand judgment

against all Defendants, and each of them, as follows:

       1. For general damages in an amount exceeding $75,000;

       2. For special damages in an amount exceeding $75,000;

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  3. For punitive damages;

  4. For loss of earnings;

  5. For loss of consortium;

  6. For interest as provided by law;

  7. For all statutorily allowed damages;

  8. For applicable restitution;

  9. For an injunction requiring all Defendants to abate and/or cease contributing to the

     public nuisance they are creating in violation of one or more relevant statutes by un-
     reasonably supplying 60-round HCMs like the Magazine to the public without public

     safeguards to prevent their nuisance;

  10. For reasonable attorneys’ fees and costs of suit incurred; and

  11. For such other and further relief as this Court deems proper.

  Respectfully submitted this the 30th day of August, 2024.

                                             /s/Elizabeth Middleton Burke
                                             Elizabeth Middleton Burke (Fed. I.D. 7466)
                                             Christiaan A. Marcum (Fed. I.D. 7556)
                                             ROGERS PATRICK WESTBROOK &
                                             BRICKMAN, LLC
                                             1037 Chuck Dawley Blvd., Bldg. A
                                             Mount Pleasant, SC 29464
                                             Ph: (843) 727-6500
                                             Fax: (843) 216-6509
                                             bburke@rpwb.com
                                             cmarcum@rpwb.com

                                             Leslie Mitchell Kroeger
                                             (pro hac vice application forthcoming)
                                             Poorad Razavi
                                             (pro hac vice application forthcoming)
                                             Rachael Flanagan
                                             (pro hac vice application forthcoming)
                                             COHEN MILSTEIN SELLERS & TOLL
                                             11780 U.S. Highway One, Suite N500
                                             Palm Beach Gardens, FL 33408
                                             Ph: (561) 515-1400
                                             lkroeger@cohenmilstein.com

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                                     prazavi@cohenmilstein.com
                                     rflanagan@cohenmilstein.com

                                     Jay Chaudhuri, Esq.
                                     (pro hac vice application forthcoming)
                                     COHEN MILSTEIN SELLERS & TOLL
                                     407 North Person Street
                                     Raleigh, NC 27601
                                     jchaudhuri@cohenmilstein.com

                                     Douglas N. Letter, Esq.
                                     (pro hac vice application forthcoming)
                                     Philip H. Bangle, Esq.
                                     (pro hac vice application forthcoming)
                                     Jenna Tersteegen, Esq.
                                     (pro hac vice forthcoming)
                                     BRADY UNITED AGAINST GUN VIOLENCE
                                     840 First Street NE, Ste. 400
                                     Washington, DC 20002
                                     dletter@bradyunited.org
                                     pbangle@bradyunited.org
                                     jklein@bradyunited.org

                                     Counsel for Plaintiffs




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